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                    UNITED STATES DISTRICT COURT
                       DISTRICT OF NEW JERSEY


 UNITED STATES OF AMERICA                     Hon. James B. Clark

      V.
                                              Mag. No. 19 3801

 JENNIE FRIAS
   a/k/a “Jenny Frias”                        ORDER FOR A CONTINUANCE
   a/k/a “Jennie Castillo



      This matter having come before the Court on the joint application of

Craig Carpenito, United States Attorney for the District of New Jersey (by An B.

Fontecchio, Assistant United States Attorney), and defendant JENNIE FRIAS

(by Thomas Dunn, Esq.), for an order granting a continuance of the

proceedings in the above-captioned matter from the date this Order is signed

through March 1, 2020 to permit defense counsel the reasonable time

necessary for effective preparation in this matter and to allow the parties to

conduct plea negotiations; and the defendant being aware of the right to have

the matter submitted to a grand jury within 30 days of the date of arrest

pursuant to Title 18, United States Code, Section 3161(b); and one prior

continuance having been entered; and the defendant, by way of attorney,

having consented to the continuance; and for good and sufficient cause shown,

      IT IS THE FINDING OF THIS COURT that this action should be

continued for the following reasons:
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      (1)   The defendant has requested reasonable lime necessary for

effective preparation in this matter;

      (2)   Both the United States and the defendant seek additional time to

conduct plea negotiations, which would render any grand jury proceedings and

any subsequent trial of this matter unnecessary;

      (3) The defendant has consented to the aforementioned continuance;

      (4) The grant of a continuance will likely conserve judicial nsources and

      (5) Pursuant to Title 18, United States Code, Section 3161(h)(7), the ends

ofjustice served by granting the continuance outweigh the best interests of the

public and the defendant in a speedy trial.

      WHEREFORE, it is on this 3day of January, 2020;

      ORDERED that this action be, and it hereby is, continued from the date

this Order is signed through March 1, 2020; and it is further




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      ORDERED that the period from the date this Order is signed through

March 1, 2020 shall be excludable in computing time under the Speedy Trial

Act of 1974.


                                     HONORABLE
                                     United States         Judge

Form and entry consented to:




An B. Fontccchio
Assistant U. S. Attorney




LJ  Daniel Shapiro
Daniel Shapiro
Chief, Economic Crimes Unit



Is!Rahul Agarwal
Rahul Agarwal
Deputy Chief, Criminal Division




Thomas Dunn, Esq.
Counsel for Defendant Jennie Frias
